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APPENDIX IV
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Book is focus of more debate The teaching of creationism or evolution wes the topic again at the
Dover Area School Board meeting.

Author: JOSEPH MALDONADO; For the Daily Record/Sunday News

Asticle Text:

At Monday evening's Dover Area School Board meeting, William Buckingham apolopized to anyone
he may have offended with the comments he made at last week's board meeting during discussions over
anew biology beck for the high school.

But then the school board member reiterated one of his statements to the roughly %) in attendance that
the separation of church and state is a myth.

"Nowhere in the Constitution docs it call for a separation of church and state,” he anid.

But, in part of the First Amendment to the Constitation, it states that "Congress shalt make no law
respecting an establishment of religion, or prohibiting the free exercise thereof...“

Buckinghars said while growing up, his generation prayed and read from the Bible during school. Then
he said liberals in "black robes” were taking away the rights of Christians.

“Two thousand years ago, someone died on a cross,” he said. “Can't someone take a stand for bie?"
Last week, Buckingham said that the science department's choice for # new biology book is “laced”
with Darwinism. This week, he said a Seattle-based think-tank gave the book, "Biology," by Miller and
Levine, an "F" grade. He didn't name the think-tank at the meeting and he didn't say why the book
received an “F.”

But in reference to its teaching of Darwinism, he said, *I challenge you (the audience) to trace your roots
to the monkey you came from."

Board member Caro! Brown said she reviewed the book and had it with her at the meeting. She said the
book makes no mention of anyone evolving from monkeys.

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During public comments, Bertha Spahr, chair of the high school science department, said the |,000-plus-
page text only contains seven pages that refer to Darwinism.

In addition to mecting state standards, she said the book was chosen by her department because il takes
into account the many different beliefs Dover residents may bave.

“Tt wag the least offensive book we could find,” she said.

Also during public comments, Buckingham's wife, Charlotte Buckingham, argued that evolution
teaches nothing but lies. Afier quoting several verses from the book of Genesis in the Bible, she asked,
"How can we allow anything else to be taught in our schools?"

During her time, she repeated gospel verses tellmg peaple how to become born-again Christians and said
evolution was in direct violation of the teachings of the Bible.

But the Rey. Warren Eshbach, retired, said the book of Genesis was not written as a science book, but
rather as a stateroent of faith. "It's the place of the church to teach on matters of faith," he said. “Not
public schools."

He also egid the creationism vs. evolution issue was polarizing the community.

During the meeting, Buckingham told those in attendance that he had been asked to tone down his
Christian remarks.

"Hat I must be who | am, and not politically correct,” he said.

After the discussion, Dover Area High School graduate Brad Ermey said creationism would only be
acceptable in the classroom if it could be taught without 4 religious context.

"But that's impossible," he said. "This whole thing opens the board up to lawsuits that could end up
costing already overburdened taxpayers & lot of money."

As resident Susan Napierskie was leaving the meeting with her three young daughters, she said she had
mixed feelings.

"Tin raising my girls with Christian values,” she said. "But 1 can't be a hypocrite and say that in a public
school, teachers can only teach from a Christian perspective. One of the reasons people settied in this
country was to escape religious persecution.”

Napierskie shook her head and said the teaching of evolution does have the potential to undermine the
values she is teying to instill in her daughters.

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